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                       UNITED STATES DISTRICT COURT

                         DISTRICT OF SOUTH DAKOTA

                                 SOUTHERN DIVISION


 UNITED STATES OF AMERICA,                           4:23-CR-40087-KES

                    Plaintiff,

                                               ORDER DENYING MOTION TO
       vs.                                             DISMISS

 OWEN ZACHARY SIMONSON,

                    Defendant.


      Defendant, Owen Zachary Simonson, moves to dismiss the indictment in

the above-entitled case that charges him with possession of a firearm by a

prohibited person, in violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(8). Dockets

1, 19. Simonson contends that § 922(g)(1) is unconstitutional under the

standard articulated by the Supreme Court in its recent decision New York

State Rifle & Pistol Ass’n, Inc. v. Bruen, 142 S.Ct. 2111 (2022). Docket 20 at 1.

The government objects, arguing that the Eighth Circuit has already upheld

the constitutionality of § 922(g)(1) under Bruen in United States v. Jackson, 69

F.4th 495, 501-506 (8th Cir. 2023).

                                 LEGAL BACKGROUND

      The Second Amendment of the United States Constitution was construed

during the twentieth-century as a right held by individuals in the militia and

not an everday individual. See United States v. Miller, 307 U.S. 174, 178-79

(1939). In District of Columbia v. Heller, 554 U.S. 570 (2008), however, the
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Supreme Court held that the Second Amendment of the United States

Constitution “conferred an individual right to keep and bear arms.” Heller, 554

U.S. at 595 (emphasis added). McDonald v. City of Chicago, Ill. then

incorporated that holding to the states via the Fourteenth Amendment. See 561

U.S. 742, 750 (2010).

      Following the Supreme Court’s decisions in Heller and McDonald, the

Courts of Appeals developed a two-step test to evaluate Second Amendment

claims. Bruen, 142 S.Ct. at 2125-26 (2022). “At the first step, the government

may justify its regulation by establishing that the challenged law regulates

activity falling outside the scope of the right as originally understood[.]” Id. at

2126 (citations omitted). Activity that falls beyond the original scope of the

amendment was “categorically unprotected[,]” and the analysis could thus end.

Id. If the activity was protected, the court proceeded to the second step, where

“courts often analyze[d] how close the law comes to the core of the Second

Amendment right and the severity of the law’s burden on that right.” Id.

(citations omitted). Most courts considered the right to possess arms for self-

protection in the home to be the core of the right. See Gould v. Morgan, 907

F.3d 659, 671 (1st Cir. 2018).

      In Bruen, the Supreme Court examined the test developed after Heller

and found that it had “one step too many.” 142 S.Ct. at 2127. According to the

test articulated in Bruen,

      [w]hen the Second Amendment’s plain text covers an individual’s
      conduct, the Constitution presumptively protects that conduct. The
      government must then justify its regulation by demonstrating that

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      it is consistent with the Nation’s historical tradition of firearm
      regulation. Only then may a court conclude that the individual’s
      conduct falls outside the Second Amendments ‘unqualified
      command.’

Id. at 2129-30 (quoting Konigsberg v. State Bar of Cal., 366 U.S. 36, 49, n. 10

(1961)).

      The decision in Bruen has prompted significant litigation concerning

existing gun laws, including numerous challenges to 18 U.S.C. § 922(g). See,

e.g., United States v. Rahimi, 61 F.4th 443, 448 (5th Cir. 2023) (finding 18

U.S.C. § 922(g)(8) unconstitutional); United States v. Ryno, --- F. Supp. 3d ---,

2023 WL 3736420, at *7 (D. Alaska May 31, 2023) (upholding constitutionality

of 18 U.S.C. § 922(g)(9)). The Eighth Circuit recently addressed a constitutional

challenge to § 922(g)(1) in United States v. Jackson and, applying the Bruen

framework, found that the section was constitutional. See Jackson, 69 F.4th at

501-506. The Jackson court analyzed the language in both Heller and Bruen,

highlighting the ways in which the Supreme Court upheld the validity of felon

in possession bans. Id. at 501-502. Jackson affirmed that “[g]iven these

assurances by the Supreme Court, and the history that supports them, [the

Eighth Circuit] conclude[s] that there is no need for felony-by-felony litigation

regarding the constitutionality of § 922(g)(1).” Id. at 502.

                                   DISCUSSION

      As Simonson acknowledges, “the Eighth Circuit has recently ruled that

18 U.S.C. § 922(g)(1) is constitutional and not subject to either facial or ‘as

applied’ challenges.” Docket 20 at 1. Though other circuit courts have ruled

differently, see Range v. Att’y Gen. of United States, 69 F.4th 96, 106 (3d Cir.
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2023) (finding 18 U.S.C. § 922(g)(1) unconstitutional as applied to petitioner),

this court remains bound by the precedent of the Eighth Circuit. See M.M. ex

rel. L.R. v. Special Sch. Dist. No. 1, 512 F.3d 455, 459 (8th Cir. 2008) (noting an

Eighth Circuit decision “is controlling until overruled by [the] court en banc, by

the Supreme Court, or by Congress.”) Thus, this court must deny Simonson’s

constitutional challenge.

                                  CONCLUSION

      Because the Eighth Circuit has already held that 18 U.S.C. § 922(g)(1) is

constitutional under the standard articulated in Bruen and because

Simonson’s argument rests entirely on a contrary interpretation of law, it is

      ORDERED that Simonson’s motion to dismiss the Indictment (Docket 19)

is denied.

      Dated November 14, 2023.

                                BY THE COURT:


                                /s/ Karen E. Schreier
                                KAREN E. SCHREIER
                                UNITED STATES DISTRICT JUDGE




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